995 F.2d 1066
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.BANEK INCORPORATED, a Michigan corporation, Plaintiff-Appellant,v.YOGURT VENTURES U.S.A., INC., a Georgia corporation;Richard Stern and John W. Stern, jointly andseverally, Defendants-Appellees,
    No. 93-1107.
    United States Court of Appeals, Sixth Circuit.
    June 8, 1993.
    
      1
      Published in Full at 6 F.3d 357.
    
    